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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CRISTINA NICHOLE IGLESIAS                          )
 (a.k.a. CRISTIAN NOEL IGLESIAS),                   )
                                                    )
                                 Plaintiff,         )
                                                    )       Case No. 19-cv-00415-RJN
                        v.                          )
                                                    )
 IAN CONNORS, et al.,                               )
                                                    )
                                 Defendants.        )

                  DEFENDANTS’ NOTICE OF CASE DEVELOPMENTS

        Defendants, by their attorneys Joshua E. Gardner and Gary D. Feldon, United States

Department of Justice, Civil Division, submit this notice of case developments.

        1.      On April 6, 2021, Plaintiff filed a motion for preliminary injunction and sought to

“enjoin Defendants to (i) provide Plaintiff with the medically necessary healthcare she needs,

including permanent hair removal and gender confirmation surgery; (ii) house Plaintiff at an

institution consistent with her gender identity; and (iii) protect Plaintiff from the known and serious

risks of harm she continues to face while housed in a men’s prison.” Dkt. No. 93 at 20.

        2.      On April 20, Defendants filed their opposition to Plaintiff’s motion and explained

that the Federal Bureau of Prisons’ Transgender Executive Council (“TEC”) has recommended

Plaintiff’s transfer to a female facility, and that the recommendation would be subject to approval by

the Designation and Sentence Computation Center (“DSCC”). Dkt. No. 99 at 11.

        3.      Since Defendants filed their opposition, the DSCC has accepted the TEC’s

recommendation and Plaintiff will be placed in a female facility. See Declaration of Steven Cole, ¶ 5.

She will be transported there as soon as practicable. Id.
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Dated: April 27, 2021              Respectfully submitted,


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